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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA

                     V.                                  CRIMINAL NO. 5:03CR00331-003

JERRY L. BENTON, Jr.


FREDERICK J. SCULLIN, JR., SENIOR U.S. DISTRICT JUDGE

                                                 ORDER

                          MODIFICATION OF SUPERVISED RELEASE TERM

This Court finds the offender has violated his conditions of supervised release by committing a Grade
C violation. In accordance with the policy statement set forth in the U.S. Sentencing Guidelines
7B1.3(a)(2), this Court orders the conditions of supervised release be modified as follows:


1.       The placement at the Community Corrections Center has been extended for an additional three
         (3) months. Therefore, the defendant shall reside for a total period of nine (9) months in a
         Community Corrections Center or other suitable facility and shall observe the rules of that
         facility.


All other terms of the original judgment remain the same.


         SO ORDERED.


Dated:         June 8, 2006
